_v.

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FILED

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA 7916 APR -8 AH 8:29

 

JACKSONVILLE DIVISION
ty LE }
TERRANCE HAYWOOD, ) ei CHOHVILLE DISTRICT
)
Plaintiff, ‘)
) 5.
) CIVIL ACTION NO.: 3° Ib-Cu-4GQ 073 -Z4MCR
)
PACKAGING CORPORATION OF )
AMERICA, )
)
Defendant. )
)

 

COMPLAINT AND DEMAND FOR JURY TRIAL
COMES NOW the Plaintiff, Terrance Haywood, by and through his undersigned
counsel, and by way of this Complaint, and seeks relief against Defendant, Packaging
Corporation of America, for violations of 42 U.S.C. § 1981, Title VII of the Civil Rights Act of
1964, as amended, 42 U.S.C. §§ 2000e ef seg. (“Title VII’) and the Family Medical Leave Act,
29 U.S.C. § 2601 ef seg., states as follows:

PARTIES, JURISDICTION AND VENUE

 

1. Plaintiff, Terrance Haywood (“Plaintiff’ or “Mr. Haywood”), is an African
American male and a citizen and resident of Kingsland, Georgia.

2. Defendant, Packaging Corporation of America (“Defendant” or “PCA”), isa —
Delaware corporation authorized to conduct business in Florida, which has its principal place of
business in Lake Forest, Illinois.

3. Defendant PCA is in the business of manufacturing and selling boxes throughout
the United States, including a full-line plant located in Jacksonville, Florida (the “Jacksonville

Plant”).
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4. Defendant is, and has been, an employer of Plaintiff at all times relevant to this
Complaint, and at all times relevant herein Plaintiff worked at Defendant’s Jacksonville Plant.

3. Plaintiff was an employee of Defendant from May 17, 2011 until April 8, 2013,
when PCA terminated his employment.

6. This Court has jurisdiction over this case pursuant to 28 U.S.C. §1331, 28 U.S.C.
§1343 and 42 U.S.C. §2000e(5)(f)(3).

7. A substantial part of the acts complained of herein occurred in the City of
Jacksonville, Duval County, Florida. Venue is proper in this judicial district pursuant to 28
U.S.C. § 1391(b)(1).

FACTUAL ALLEGATIONS

8. On or about May 17, 2011, PCA hired Mr. Haywood as a Smart Car Operator at
its Full-Line Jacksonville Plant.

9. During Mr. Haywood’s employment with PCA at the Jacksonville Plant, he
performed his job duties in a competent and professional manner. Plaintiff, at all times relevant
herein, held an Associate of Arts degree in Business.

10.‘ Before January 2013, Plaintiff received satisfactory performance reviews and had
no serious disciplinary issues. In 1 % years of employment, the only discipline he ever received
was a verbal warning in 2012.

11. Inor around April through May 2012, Plaintiff applied for office positions in
customer service and sales with Defendant PCA in Jacksonville, Florida. Mr. Haywood was
competent and qualified for the positions he so applied for. PCA, however, denied Mr. Haywood

the customer service and sales position applied for. At all times relevant herein, PCA did not
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have any African American customer service or sales representatives in its Jacksonville, Florida
location.

12. On January 2, 2013, Mr. Haywood suffered an injury to his back while properly
performing his assigned job duties.

13. Prior to January 2, 2013, Mr. Haywood and other employees at the Jacksonville
Plant had complained to PCA’s management about faulty equipment and the risk of injury while
operating the Smart Car, but PCA never fixed the problem.

14. On January 2, 2013, Mr. Haywood saw PCA’s workers’ compensation physician,
Dr. Saudia Yaya at Amelia Urgent Care, who spontaneously told Mr. Haywood twice that, “we
don’t hold people out of work.” As Mr. Haywood was more concerned about his injury and had
not requested that Dr. Yaya excuse him from work, he was surprised by her emphasis on this
issue. After performing an examination, Dr. Yaya placed Mr. Haywood on light duty, but
refused to approve any short-term medical leave for him.

15, Although Dr. Yaya told Mr. Haywood that she was placing him on light duty, she
checked the “full duty” column on his paperwork. Dr. Yaya stated that she would call Mr.
Haywood’s supervisors at PCA and tell them what duties he could perform, but she refused to
put those restrictions in writing. Mr. Haywood was then placed under the care of Dr. Lance
Atkinson.

16. After Mr. Haywood returned to work on January 2, 2013, PCA randomly drug
tested him. Over the next two weeks, Mr. Haywood worked in excruciating pain because the
medical treatment he received did not relieve the pain. During this time, PCA’s management

required Mr. Haywood to stand during all or most of his shift, having taken him off his job duties
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operating the Smart Car, thus exacerbating the severe pain in his back and legs. Every time
Plaintiff sat for a minute to alleviate his back pain, certain PCA managers harassed him about
sitting.

17. On January 16,2013, Mr. Haywood was in so much pain due to his work injury
that he had no choice but to call in sick to PCA. Despite knowledge that Plaintiff was out due
to his workplace injury, PCA criticized Plaintiff for being out of work.

18. On the afternoon of January 16, 2013, Barry Bort, PCA’s Production Manager at
the Jacksonville Plant, called Mr. Haywood at home and left him a message, threatening him
with termination because he was allegedly out of work. Mr. Bort also advised Mr. Haywood “to
come into work so we can take you to the doctor,” thus showing that he knew Mr. Haywood was
out due to his workplace injury.

19. Following his discussions with Mr. Bort, the afternoon of January 16, 2013, Mr.
Haywood also spoke to Lawrence Sparrow, the President of his union, United Steelworkers
Union, Local 9292. Mr. Sparrow told Mr. Haywood that although there was no paperwork yet,
PCA was trying to fire him. Mr. Lawrence again contacted PCA’s managers regarding Mr.
Haywood, and PCA instructed Mr. Haywood to return to work. Despite his pain and injury, Mr.
Haywood returned to work the next day, January 17, 2013 and met with his supervisors.

20. | After Mr. Haywood returned to work on January 17, 2013, PCA’s management at
the Jacksonville Plant began harassing Mr. Haywood on a continuous basis. PCA management
began “watching” Mr. Haywood despite the fact that before his injury, his supervisors had never
accused him of poor performance or neglecting his duties. Although Mr. Haywood was on light

duty, he continued to experience severe pain in his back and legs, about which he complained to
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supervisors on almost a daily basis. Since Mr. Haywood could not drive a Smart Car, his
supervisors assigned him to other duties

21. On January 18, 2013, PCA Jacksonville Plant General Manager Dan Nelson
questioned Mr. Haywood about the back injury of another employee, Mo Green, who is also-
African American. Mr. Nelson asked Mr. Haywood whether he and Mr. Green had discussed
their injuries, thereby implying that Mr. Haywood and Mr. Green had colluded on their injuries.

22. On another occasion, PCA Jacksonville Plant Superintendent Dan McKinney
openly stated in the workplace something to the effect that, “these niggers are always trying to
get over on FMLA!” This statement appeared to refer to Plaintiff.

23. Based upon his time and experience at the Jacksonville Plant, Mr. Haywood
observed that when Caucasian employees were injured, PCA’s management did not harass them
about their attendance, and PCA’s managers placed Caucasian employees in a special area where
they would not have to stand for long periods of time or strain their backs. Mr. Haywood was
not treated in a similar manner as the Caucasian employees despite his injury.

24. On January 24, 2013, a PCA manager supervising Mr. Haywood, Mr. Keith Miles,
instructed Mr. Haywood to locate a towmotor. Mr. Haywood was searching the plant floor for a
towmotor when Mr. Nelson confronted him in a hostile manner and asked him why he was
“walking around.” Mr. Haywood explained that he was doing as instructed by his supervisor.
Thereafter, on January 24, 2013, PCA ordered Mr. Haywood to undergo another random drug

screen.
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25. Also on the January 24, 2013, Mr. Haywood’s supervisor, Mr. Miles, informed
Mr. Haywood that management had instructed him and other supervisors to write Mr. Haywood
up for anything he does wrong.

‘26. On February 2, 2013, Mr. McKinney directed that Mr. Haywood go back to work
on the Smart Car. Although Mr. Haywood complied with this directive, he advised Mr.
McKinney that his work restrictions had not changed and his physician had not yet fully released
him. After a short time on the Smart Car machine, which bounced up and down as it traveled in
a straight line, Mr. Haywood’s back and left leg began to ache and went numb. Mr. Haywood
again objected to Mr. McKinney regarding the reassignment to the Smart Car. Mr. McKinney
finally removed Mr. Haywood from the Smart Car and reassigned him back to work under Mr.
Miles.

27. Defendant’s management engaged in a campaign of treating Mr. Haywood
differently than Caucasian employees who had been injured on-the job at the Jacksonville Plant.
Following his injury, PCA management was hostile to Mr. Haywood, harassing him about his
attendance and job performance even though Mr. Haywood had never received any discipline for
poor performance, neglecting his job duties, or any other reason.

28. Prior to his injury in the workplace, Mr. Haywood had not been asked to take a
drug screening while working at PCA. However, following his injury, PCA management
singled Mr. Haywood out to undergo repeated random drug tests in a short period of time and
refused to abide by the work restrictions issued by his workers’ compensation physician, thus
jeopardizing Mr. Haywood’s health. Although all of Mr. Haywood’s absences after his injury

were for visits to medical professionals to obtain therapy for his workers’ compensation injury,
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on February 05, 2013, PCA management disciplined Mr. Haywood for these absences and placed
him on a Last Chance Agreement.

29. On February 28, 2013, PCA again ordered Mr. Haywood to take another random
drug screen. Mr. Haywood successfully passed all PCA ordered drug screenings.

30. On March 7, 2013, Plant Manager Dan Nelson approached Mr. Haywood while he
was talking with another employee, Christie Hart. Mr. Nelson congratulated Ms. Hart for going
six months straight without an absence and then sarcastically said to Mr. Haywood, “see
Terrance, six months isn’t anything. You can handle it!” Ms. Hart corrected Mr. Nelson, telling
him that since she had missed work yesterday, she did not have perfect attendance.

31. On March 12, 2013, Mr. Haywood was on his way to work when he had a flare up
and a reoccurrence of severe leg pain resulting from his workplace injury. Mr. Haywood was
therefore forced to revisit Dr. Yaya until he could see his orthopedic surgeon. Although Dr.
Yaya recommended that Mr. Haywood receive another pain relief injection, he refused because
the seven previous injections he had received had not improved his back. Therefore, Dr. Yaya
prescribed Mr. Haywood pain medication which would make him drowsy and she instructed him
not to drive a car or operate heavy machinery. Again, Dr. Yaya told Mr. Haywood that she could
not hold him out of work and that she could “get in trouble if she did.” Dr. Yaya told Mr.
Haywood that he should take the medication at lunch time knowing he would have to drive home
after work a short time later after his shift ended at 3:00 p.m.

32. | Onrepeated occasions following his injury, Plaintiff told his direct supervisor,

Keith Miles, that he felt that PCA management was harassing Plaintiff on account of his race.
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Mr. Miles stated that he agreed that Mr. Haywood was being harassed in the workplace and
treated differently on account of his race.

33. On March 26, 2013, PCA approved Mr. Haywood’s request for intermittent
Family Medical Leave Act (“FMLA”) leave retroactive to February 25, 2013 and continuing
through August 25, 2013.

34. On April 2, 2013, Mr. Haywood spoke with a supervisor prior to his shift to notify
him that he would be late for his shift due to a doctor’s appointment and left a voice mail
message for that supervisor advising of him of the same. Also, later that morning, Mr. Haywood
spoke with another supervisor, Mr. Miles, about being at a doctor’s appointment who advised
Mr. Haywood that Mr. Nelson said that PCA had no work for Mr. Haywood. This was not
accurate, as Plaintiff knew that there was sufficient work for him to perform for PCA. Mr.
Haywood went into work the next day and was told again he would be called if there was work
for him. Plaintiff waited at home for a call from PCA summoning him back to work, but no call
was forthcoming.

35. On April 8, 2013, Mr. Haywood received a memorandum from PCA stating that
PCA had terminated Mr. Haywood “for no call/no show on April 2, 2013," the day he had called
into work twice to report that he would be late to work because of the medical appointment.

36. All administrative prerequisites, if any, have been met for each claim brought in
this Complaint, and each such claim is timely brought. Furthermore, Plaintiff timely filed a
Charge of Discrimination with the Equal Employment Opportunity Commission (“EEOC”) for
race discrimination and retaliation by PCA. The EEOC issued and mailed a Notice of Right to

Sue to Plaintiff relating to his Charge of Discrimination in March 2016.
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COUNT ONE
(Violation of 42 U.S.C. § 1981 and Title VII - Discrimination Based on Race)

37. Plaintiff incorporates by reference herein and realleges the allegations in
Paragraphs | through 36 above as though set forth fully herein.

38.  Atall times relevant herein, Plaintiff, an African American and was an employee
of Defendant.

39. Defendant, by and through its employees and agents, intentionally discriminated
against Plaintiff on account of his race and color in violation of 42 U.S.C. § 1981 and Title VII
by, inter alia, subjecting him to discrimination in hiring for the customer service and sales
positions Plaintiff applied for, harassment, differing treatment, false accusations and other
behavior that was racially discriminatory, and terminating his employment without cause.

40. Any non-discriminatory reason given for treating Plaintiff differently than
similarly situated Caucasian employees is a pretext for unlawful discrimination.

41. The acts and omissions committed by Defendant herein were willful, malicious
and in reckless disregard of Plaintiff's federally protected civil rights.

42. As a direct and proximate result of Defendant’s actions, Plaintiff has suffered and
will continue to suffer lost wages, benefits and entitlements, damage to his career and reputation,
personal humiliation, emotional distress, mental anguish and loss of enjoyment of life.

COUNT TWO
(Violation of 42 U.S.C. § 198land Title VII - Retaliation)

43. Plaintiff incorporates by reference herein and realleges the allegations in

Paragraphs 1 through 36 above as though set forth fully herein.
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44. At all times relevant herein, Plaintiff, an African American, and was an employee
of Defendant.

45. Plaintiff engaged in protected activity when he objected to and complained about
unlawful discrimination based on his race and color by verbally communicating such objections
and complaints to his supervisor by stating that he felt his treatment was a result of his race. On
certain occasions when Mr. Haywood made such statements, Mr. Haywood’s supervisor Mr.
Miles agreed with him.

46. Plaintiff further engaged in protected activity when he objected to and complained
to supervisors that he was being treated differently in the workplace than other employees.

47. Defendant, through its employees and agents, took adverse employment action
and unlawfully retaliated against Plaintiff in violation of 42 U.S.C. § 1981 and Title VII by
terminating Plaintiff for objecting to and complaining about unlawful discrimination on account
of his race and color.

48. Defendant's adverse employment actions against Plaintiff were causally related to
Plaintiff's protected activity.

49. Any non-retaliatory reason proffered by Defendant for taking such adverse
employment actions against Plaintiff is merely a pretext for unlawful retaliation.

50. The acts and omissions committed by Defendant herein, were willful, malicious
and in reckless disregard of Plaintiff's federally protected civil rights.

51. Asadirect and proximate result of Defendant’s actions, Plaintiff has suffered and
will continue to suffer lost wages, benefits and entitlements, damage to his career and reputation,

personal humiliation, emotional distress, mental anguish and loss of enjoyment of life.

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COUNT THREE
(Violation of 29 U.S.C. § 2614(a)(1) and (2), and 2615(a)(2) -
FMLA Discrimination and Retaliation)

52. Plaintiff incorporates by reference herein and realleges the allegations in
Paragraphs 1 through 36 above as though set forth fully herein.

53. Asan eligible employee under the FMLA, Plaintiff was entitled to and approved
to take intermittent FMLA leave for his own serious health condition. Plaintiff took FMLA
leave.

54. At all times relevant herein, Defendant employed more than 50 employees at the
Jacksonville Plant.

55. Plaintiff was entitled to be restored to the position of employment he held when
his leave commenced or to be restored to an equivalent position with equivalent employment
benefits, pay, and other terms and conditions of employment.

56. ‘Plaintiff's taking of FMLA leave should not have resulted in the loss of any of the
employment benefits he accrued prior to the date on which his FMLA leave commenced,
including his position.

57. Upon Plaintiff's taking of FMLA leave, Defendant discriminated against Plaintiff

' by treating him differently in the workplace at the Jacksonville Plant and terminating his
employment.

58. Plaintiff objected to Defendant’s treatment of him in the workplace herein, and

thereby opposed, Defendant’s discriminatory actions.

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59. Within less than 30 days of Plaintiff being approved for taking the EMLA leave to
which he was entitled, and after objecting to Defendant’s discriminatory actions, Defendant
terminated Plaintiff's employment.

60. By the foregoing discriminatory actions and terminating Plaintiff's employment
less than 30 days later after he took FMLA leave, Defendant discriminated and retaliated against
Plaintiff in violation of 29 U.S.C. 2614(a)(1) and (2) and 29 U.S.C. § 2615(a)(2).

61. Defendant knowingly and willfully violated Plaintiff's rights under the FMLA.

62. Asa direct and proximate result of Defendant’s intentional discrimination and
retaliation against Plaintiff in violation of the FMLA, Plaintiff is entitled to recover the lost
wages and benefits associated with his employment, liquidated damages in an amount equal to
the lost wages and benefits, pre-judgment interest, post-judgment interest, reasonable attorneys’
fees, costs, equitable or injunctive relief, and such other relief as the Court deems just and proper,
including, if feasible, reinstatement to a substantially equivalent position with Defendant.

WHEREFORE, Plaintiff, Terrance Haywood, respectfully requests that this Honorable
Court grant the following relief:

(a) Enter judgment on behalf of Plaintiff and against Defendant on all counts of his
Complaint;

(b) | Award Plaintiff back pay and front pay;

(c) Award Plaintiff compensatory damages against Defendant in an amount to be
determined by a jury;

(d) Award Plaintiff punitive damages permitted under law;

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(e) Award Plaintiff reasonable attorneys' fees, court costs, expenses, pre-judgment
interest, and post-judgment interest; and

(f) Such other or further relief as the Court deems just and appropriate.

Plaintiff hereby demands a jury trig

    
 
  
   

JURY TRIAL

 

Dated: April 8, 2016

 

   

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